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                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

IN RE:                                            §                Case No. 22-33553
                                                  §
ALEXANDER E. JONES                                §                Chapter 11
                                                  §
        Debtor.                                   §

    VERIFIED RULE 2019 STATEMENT OF MULTIPLE REPRESENTATION

        Pursuant to Rule 2019 of the Federal Rules of Bankruptcy Procedure

(the “Bankruptcy Rules”), the undersigned counsel submits this verified statement

(the “Verified Statement”) and in support thereof respectfully states as follows:

        1.      Cain & Skarnulis PLLC (“C&S”) and Koskoff Koskoff & Bieder PC

(“Koskoff” and together with C&S, the “Connecticut Plaintiffs’ Counsel”) 1 represent

the following parties in the above-captioned matter (collectively, the “Connecticut

Plaintiffs” 2):

                a.       David Wheeler;
                b.       Francine Wheeler;
                c.       Jacqueline Barden;
                d.       Mark Barden;
                e.       Nicole Hockley;
                f.       Ian Hockley;
                g.       Jennifer Hensel;
                h.       Donna Soto;
                i.       Carlee Soto Parisi;
                j.       Carlos M. Soto;
                k.       Jillian Soto-Marino;
                l.       William Aldenberg;
                m.       William Sherlach; and
                n.       Robert Parker.


1Akin, Gump, Strauss, Hauer, & Feld, LLP has provided advice to both the Connecticut Plaintiffs and the
Texas Plaintiffs in connection with this chapter 11 case on a strictly pro bono basis and will continue to do
so.
2 The Connecticut Plaintiffs and their counsel have worked closely with the Texas Plaintiffs and their

counsel and will continue to do so.




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        2.      In accordance with Bankruptcy Rule 2019, the address for each of the

Connecticut Plaintiffs is shown on Exhibit A attached hereto.

        3.      The Connecticut Plaintiffs are each a creditor, and the nature and principal

amount of each of their claims is described on Exhibit A attached hereto. In accordance

with Bankruptcy Rule 2019, Exhibit A provides all disclosable economic interests held

by each Connecticut Plaintiff in relation to Alexander E. Jones (the “Debtor”).3

        4.      Jones is a defendant in three consolidated lawsuits brought by the

Connecticut Plaintiffs. 4

        5.      The Connecticut Plaintiffs are monitoring the Debtor’s case. C&S and

Koskoff hold no interest in the Debtor or his estate. None of the Connecticut Plaintiffs’

disclosable economic interests have been assigned subsequent to the commencement of

the Debtor’s case and have not been solicited for purchase by C&S nor Koskoff.

        6.      Nothing contained in this Verified Statement (or Exhibit A hereto) should

be construed as a limitation upon, or waiver of any Connecticut Plaintiff’s rights to assert,

file, and/or amend its claim(s) in accordance with applicable law and any orders entered

in this case establishing procedures for filing proofs of claim.

        7.      Connecticut Plaintiffs’ Counsel reserve the right to amend or supplement

this Verified Statement in accordance with the requirements set forth in Bankruptcy

Rule 2019.




3An additional Connecticut plaintiff, Richard Coan, Trustee of the Bankruptcy Estate of Erica Lafferty is a
creditor. Ms. Lafferty has also filed a proof of claim. Mr. Coan and Ms. Lafferty have not appeared in this
proceeding, except to file proofs of claim.
4 These three consolidated lawsuits are on the Complex Litigation Docket of Waterbury, Connecticut and

are named as follows: Lafferty, et al. v. Jones, et al., No. X06-UWY-CV18-6046436-S, Sherlach v. Jones,
et al., No. X06-UWY-CV18-6046437-S and Sherlach, et al. v. Jones, et al., No. X06-UWY-CV18-
6046438-S.




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       Respectfully submitted this 9th day of December 2022.

                                          /s/ Ryan E. Chapple
                                          Ryan E. Chapple
                                          State Bar No. 24036354
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                                          CAIN & SKARNULIS PLLC
                                          303 Colorado Street, Suite 2850
                                          Austin, Texas 78701
                                          512-477-5000
                                          512-477-5011—Facsimile
                                          ATTORNEY FOR THE CONNECTICUT
                                          PLAINTIFFS



                             CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing Verified Statement has
been served on counsel for Debtor, Debtor, the U.S. Trustee, as well as all parties receiving
or entitled to notice through CM/ECF and in accordance with the Rules on this 9th day of
December 2022.


                                          /s/ Ryan E. Chapple
                                          Ryan E. Chapple




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